     Case 2:22-cv-00724-PA-E Document 1 Filed 02/02/22 Page 1 of 7 Page ID #:1




 1   SANDERS LAW GROUP
     Craig B. Sanders, Esq. (Cal Bar 284397)
 2   100 Garden City Plaza, Suite 500
     Garden City, NY 11530
 3   Tel: (516) 203-7600
     Email: csanders@sanderslaw.group
 4   File No.: 123629
 5   Attorneys for Plaintiff
 6

 7

 8                         UNITED STATES DISTRICT COURT
 9
                         CENTRAL DISTRICT OF CALIFORNIA
10

11      Charles Guerin,

12                             Plaintiff,              Case No:
13
                v.                                     COMPLAINT
14
        Jasmin Larian LLC d/b/a Cult                   DEMAND FOR JURY TRIAL
15
        Gaia,
16

17                             Defendant.

18
           Plaintiff Charles Guerin (“Plaintiff”), by and through its undersigned
19
     counsel, for its Complaint against Defendant Jasmin Larian LLC d/b/a Cult Gaia
20
     (“Defendant”) states and alleges as follows:
21
                                       INTRODUCTION
22
           1.        This action seeks to recover damages for copyright infringement.
23
           2.        Plaintiff herein creates photographic images and owns the rights to
24
     these images which Plaintiff licenses for various uses including online and print
25
     publications.
26
           3.        Defendant owns and operates a social media account with the name
27

28

                                                       1
                                            PLAINTIFF'S COMPLAINT
     Case 2:22-cv-00724-PA-E Document 1 Filed 02/02/22 Page 2 of 7 Page ID #:2




 1
     of “cultgaia” on Instagram (the “Account”).
 2
           4.     Defendant, without permission or authorization from Plaintiff
 3
     actively copied, stored, and/or displayed Plaintiff's Photograph on the Account
 4
     and engaged in this misconduct knowingly and in violation of the United States
 5
     copyright laws.
 6
                                          PARTIES
 7
           5.     Plaintiff Charles Guerin is an individual who is a citizen of the State
 8
     of New York and maintains a principal place of business at 476 Gates Avenue
 9
     Apt. 2B, Brooklyn in New York City, New York.
10
           6.     Upon information and belief, Defendant Jasmin Larian LLC, is a
11
     California limited liability company with a principal place of business at 8111
12
     Beverly Boulevard 2nd Floor, Los Angeles in Los Angeles County, California and
13
     is liable and responsible to Plaintiff based on the facts herein alleged.
14
                             JURISDICTION AND VENUE
15
           7.     This Court has subject matter jurisdiction over the federal copyright
16
     infringement claims pursuant to 28 U.S.C. §1338(a) and 28 U.S.C. §1331.
17
           8.     This Court has personal jurisdiction over Jasmin Larian LLC because
18
     it maintains its principal place of business in California.
19
           9.     Venue is proper under 28 U.S.C. §1391(a)(2) because Jasmin Larian
20
     LLC does business in this Judicial District and/or because a substantial part of the
21
     events or omissions giving rise to the claim occurred in this Judicial District.
22
                         FACTS COMMON TO ALL CLAIMS
23
           10.    Plaintiff is a professional photographer by trade who is the legal and
24
     rightful owners of photographs which Plaintiff licenses to online and print
25
     publications.
26
           11.    Plaintiff has invested significant time and money in building
27
     Plaintiff's photograph portfolio.
28

                                                    2
                                         PLAINTIFF'S COMPLAINT
     Case 2:22-cv-00724-PA-E Document 1 Filed 02/02/22 Page 3 of 7 Page ID #:3




 1
            12.   Plaintiff has obtained active and valid copyright registrations from
 2
     the United States Copyright Office (the “USCO”) which cover many of Plaintiff's
 3
     photographs while many others are the subject of pending copyright applications.
 4
            13.   Plaintiff's photographs are original, creative works in which Plaintiff
 5
     owns protectable copyright interests.
 6
            14.   The Account is associated with Defendant Jasmin Larian LLC d/b/a
 7
     Cult Gaia.
 8
            15.   Defendant Jasmin Larian LLC d/b/a Cult Gaia has exclusive access
 9
     to post content on its Instagram Account.
10
            16.   Defendant Jasmin Larian LLC d/b/a Cult Gaia uses the Account to
11
     advertise its high-end apparel and merchandise whereby it promotes its business
12
     and in so doing accrues financial benefit.
13
          17.     On June 22, 2021 Plaintiff Charles Guerin authored a photograph of
14
     model Emily Ratajkowski wearing a blue crop top (the “Photograph”). A copy of
15
     the Photograph is attached hereto as Exhibit 1.
16
            18.   Plaintiff applied to the USCO to register the Photograph on or about
17
     September 8, 2021 under Application No. 1-10826709091.
18
            19.   The Photograph was registered by the USCO on September 8, 2021
19
     under Registration No. VA 2-267-920.
20
            20.   On June 22, 2021, Plaintiff observed the Photograph on the Account.
21
     A copy of the screengrab of the Account including the Photograph is attached
22
     hereto as Exhibit 2.
23
            21.   A copy of the Photograph was displayed on Defendant’s Instagram
24
     Account at www.instagram.com via the Account’s Instagram story feature at
25
     URL: https://www.instagram.com/cultgaia/.
26
            22.   Without permission or authorization from Plaintiff, Defendant
27
     volitionally selected, copied, stored and/or displayed Plaintiff copyright protected
28

                                                  3
                                       PLAINTIFF'S COMPLAINT
     Case 2:22-cv-00724-PA-E Document 1 Filed 02/02/22 Page 4 of 7 Page ID #:4




 1
     Photograph as is set forth in Exhibit “1” on the Account.
 2
            23.   Upon information and belief, Defendant’s decision to display
 3
     Plaintiff’s Photograph resulted from the Photograph depicting a celebrity, Emily
 4
     Ratajkowski, wearing Defendant’s high-end apparel.
 5
           24.    Upon information and belief, the Photograph was copied, stored and
 6
     displayed without license or permission, thereby infringing on Plaintiff's
 7
     copyrights (hereinafter the “Infringement”).
 8
           25.    The Infringement includes a URL (“Uniform Resource Locator”) for
 9
     a fixed tangible medium of expression that was sufficiently permanent or stable
10
     to permit it to be communicated for a period of more than a transitory duration
11
     and therefore constitutes a specific infringement. 17 U.S.C. §106(5); Perfect 10,
12
     Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1160 (9th Cir. 2007).
13
           26.    The Infringement is an exact copy of the entirety of Plaintiff's
14
     original image that was directly copied and stored by Defendant on the Account.
15
           27.    Upon information and belief, Defendant takes an active and
16
     pervasive role in the content posted on its Account, including, but not limited to
17
     copying, posting, selecting, commenting on and/or displaying images including
18
     but not limited to Plaintiff's Photograph.
19
           28.    Upon information and belief, the Photograph was willfully and
20
     volitionally posted to the Account by Defendant.
21
           29.    Upon information and belief, Defendant engaged in the Infringement
22
     knowingly and in violation of applicable United States Copyright Laws.
23
           30.    Upon information and belief, Defendant has the legal right and
24
     ability to control and limit the infringing activities on its Account and exercised
25
     and/or had the right and ability to exercise such right.
26
           31.    Upon information and belief, Defendant monitors the content on its
27
     Account.
28

                                                  4
                                       PLAINTIFF'S COMPLAINT
     Case 2:22-cv-00724-PA-E Document 1 Filed 02/02/22 Page 5 of 7 Page ID #:5




 1
           32.    Upon information and belief, Defendant has received a financial
 2
     benefit directly attributable to the Infringement.
 3
           33.    Upon information and belief, the Infringement increased traffic to
 4
     the Account and, in turn, caused Defendant to realize an increase in its
 5
     merchandise sales.
 6
           34.    Upon information and belief, a large number of people have viewed
 7
     the unlawful copies of the Photograph on the Account.
 8
           35.    Upon information and belief, Defendant at all times had the ability
 9
     to stop the reproduction and display of Plaintiff's copyrighted material.
10
           36.    Defendant's use of the Photograph, if widespread, would harm
11
     Plaintiff's potential market for the Photograph.
12
           37.    As a result of Defendant's misconduct, Plaintiff has been
13
     substantially harmed.
14
                                    FIRST COUNT
15               (Direct Copyright Infringement, 17 U.S.C. §501 et seq.)
16         38.    Plaintiff repeats and incorporates by reference the allegations
17   contained in the preceding paragraphs, as though set forth in full herein.
18         39.    The Photograph is an original, creative work in which Plaintiff owns
19   valid copyright properly registered with the United States Copyright Office.
20         40.    Plaintiff has not licensed Defendant the right to use the Photograph
21   in any manner, nor has Plaintiff assigned any of its exclusive rights in the
22   copyrights to Defendant.
23         41.    Without permission or authorization from Plaintiff and in willful
24   violation of Plaintiff's rights under 17 U.S.C. §106, Defendant improperly and
25   illegally copied, stored, reproduced, distributed, adapted, and/or publicly
26   displayed works copyrighted by Plaintiff thereby violating one of Plaintiff's
27   exclusive rights in its copyrights.
28

                                                  5
                                       PLAINTIFF'S COMPLAINT
     Case 2:22-cv-00724-PA-E Document 1 Filed 02/02/22 Page 6 of 7 Page ID #:6




 1
           42.    Defendant's reproduction of the Photograph and display of the
 2
     Photograph constitutes willful copyright infringement. Feist Publications, Inc. v.
 3
     Rural Telephone Service Co., Inc., 499 U.S. 340, 361 (1991).
 4
           43.    Plaintiff is informed and believes and thereon alleges that the
 5
     Defendant willfully infringed upon Plaintiff's copyrighted Photograph in violation
 6
     of Title 17 of the U.S. Code, in that they used, published, communicated, posted,
 7
     publicized, and otherwise held out to the public for commercial benefit, the
 8
     original and unique Photograph of the Plaintiff without Plaintiff's consent or
 9
     authority, by using in the infringement on the Account.
10
           44.    As a result of Defendant's violations of Title 17 of the U.S. Code,
11
     Plaintiff is entitled to an award of actual damages and disgorgement of all of
12
     Defendant's profits attributable to the infringement as provided by 17 U.S.C. §
13
     504 in an amount to be proven or, in the alternative, at Plaintiff's election, an
14
     award for statutory damages against Defendant in an amount up to $150,000.00
15
     for each infringement pursuant to 17 U.S.C. § 504(c).
16
           45.    As a result of the Defendant's violations of Title 17 of the U.S. Code,
17
     the court in its discretion may allow the recovery of full costs as well as reasonable
18
     attorney's fees and costs pursuant to 17 U.S.C. § 505 from Defendant.
19
           46.    As a result of Defendant's violations of Title 17 of the U.S. Code,
20
     Plaintiff is entitled to injunctive relief to prevent or restrain infringement of his
21
     copyright pursuant to 17 U.S.C. § 502.
22
                                      JURY DEMAND
23
           47.    Plaintiff hereby demands a trial of this action by jury.
24
                                  PRAYER FOR RELIEF
25
           WHEREFORE Plaintiff respectfully requests judgment as follows:
26
           That the Court enters a judgment finding that Defendant has infringed on
27
     Plaintiff's rights to the Photograph in violation of 17 U.S.C. §501 et seq. and
28

                                                   6
                                        PLAINTIFF'S COMPLAINT
     Case 2:22-cv-00724-PA-E Document 1 Filed 02/02/22 Page 7 of 7 Page ID #:7




 1
     award damages and monetary relief as follows:
 2
                 a.    finding that Defendant infringed upon Plaintiff's copyright
 3
                       interest in the Photograph by copying and displaying without
 4
                       a license or consent;
 5
                 b.    for an award of actual damages and disgorgement of all of
 6
                       Defendant's profits attributable to the infringement as
 7
                       provided by 17 U.S.C. § 504 in an amount to be proven or, in
 8
                       the alternative, at Plaintiff's election, an award for statutory
 9
                       damages against Defendant in an amount up to $150,000.00
10
                       for the infringement pursuant to 17 U.S.C. § 504(c), whichever
11
                       is larger;
12
                 c.    for an order pursuant to 17 U.S.C. § 502(a) enjoining
13
                       Defendant from any infringing use of any of Plaintiff's works;
14
                 d.    for costs of litigation and reasonable attorney's fees against
15
                       Defendant pursuant to 17 U.S.C. § 505;
16
                 e.    for pre judgment interest as permitted by law; and
17
                 f.    for any other relief the Court deems just and proper.
18
19   DATED: February 2, 2022

20                                        SANDERS LAW GROUP
21
                                          By: /s/ Craig B. Sanders
22                                        Craig B. Sanders, Esq. (Cal Bar 284397)
23                                        100 Garden City Plaza, Suite 500
                                          Garden City, NY 11530
24                                        Tel: (516) 203-7600
25                                        Email: csanders@sanderslaw.group
                                          File No.: 123629
26

27                                        Attorneys for Plaintiff

28

                                                7
                                     PLAINTIFF'S COMPLAINT
